JS 44 (Rev. 10/20) Case 1:20-cv-14891-KMW-EAP Document
                                           CIVIL COVER 1 SHEET
                                                         Filed 10/23/20 Page 1 of 26 PageID: 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                           DEFENDANTS

    John Fitzgerald                                                                                         Glenn Insurance, Inc.
    (b) County of Residence of First Listed Plaintiff              Atlantic                                 County of Residence of First Listed Defendant              Atlantic
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
Daniel D. Orlow, Esq.
Console Mattiacci Law
1525 Locust Street, 9th Fl
Philadelphia, PA 19102
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                         (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government              X 3      Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                             (U.S. Government Not a Party)                      Citizen of This State          X1           1      Incorporated or Principal Place         4    X4
                                                                                                                                                        of Business In This State

    2   U.S. Government                   4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                   Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                      Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                             FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                           310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                 Liability                  367 Health Care/                                                                                    400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment             Slander                        Personal Injury                                                820 Copyrights                   430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’              Product Liability                                              830 Patent                       450 Commerce
    152 Recovery of Defaulted                 Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated         460 Deportation
         Student Loans                   340 Marine                          Injury Product                                                     New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                  Liability                                                      840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
    190 Other Contract                       Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability       360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                            Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                         362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                             Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                      441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment       ✖   442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                    443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
    245 Tort Product Liability               Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                             Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                         446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                             Other                       550 Civil Rights                 Actions                                                                State Statutes
                                         448 Education                   555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                      3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                              Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                               (specify)                 Transfer                          Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          42 U.S.C. §12101, et seq.; 29 U.S.C. § 2601, et seq
VI. CAUSE OF ACTION Brief description of cause:
                      Plaintiff was discriminated against because of his disability and his request for medical leave.
VII. REQUESTED IN        CHECK IF THIS IS A CLASS ACTION         DEMAND $                       CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.             in excess of $75,000              JURY DEMAND:         X Yes       No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                                JUDGE                                           DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
        10/23/2020
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
__________________________________________
                                            :
                                            :
JOHN FITZGERALD                             :
Northfield, NJ                              :    Civil Action No.
                                            :
              Plaintiff                     :
      v.                                    :
                                            :
GLENN INSURANCE, INC.                       :
Absecon, NJ                                 :
                                            :
              Defendants                    :
                                            :
__________________________________________:

                               CIVIL ACTION COMPLAINT

I.     INTRODUCTION

       Plaintiff, John Fitzgerald, brings this action against his former employer, Glenn Insurance,

Inc. (“Defendant”), for violations of the Americans with Disabilities Act, as amended, 42 U.S.C.

§12101, et seq. (“ADA”), the Family and Medical Leave Act, 29 U.S.C. § 2601, et seq. (“FMLA”),

and the New Jersey Law Against Discrimination, N.J.S.A. 10:5-1, et seq. (“LAD”).

       In January 2019, Plaintiff was diagnosed with an aggressive and high-grade form of

bladder cancer. Plaintiff disclosed his diagnosis to his immediate supervisor, Thomas Glenn, III

(Defendant’s Owner and President), and disclosed his need for periodic accommodations, which

included working from home on certain occasions and attending medical appointments as needed.

Plaintiff was immediately reprimanded for “interrupting” Glenn with news of his diagnosis.

Thereafter, Plaintiff had certain job duties taken away from him, was removed from a committee

that he sat on, and was excluded from Defendant’s strategic planning discussions. Plaintiff was

ultimately terminated under the false premise that his job was being eliminated.
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       Defendant discriminated against Plaintiff because of his disability, retaliated against him

for seeking reasonable accommodations and protected medical leave, and subjected Plaintiff to a

hostile work environment because of his disability. Plaintiff seeks damages, including back-pay,

front-pay, compensatory, punitive, attorneys’ fees and costs, and all other relief that this Court

deems appropriate.

II.    PARTIES

       1.      Plaintiff John Fitzgerald is an individual and citizen of the State of New Jersey,

residing therein in Northfield, NJ.

       2.      Defendant Glenn Insurance, Inc. is a New Jersey corporation with a principal place

of business located at 500 E. Absecon Blvd. Absecon, NJ 08201.

       3.      At all times material hereto, Plaintiff was an employee of Defendant within the

meaning of the statutes which form the basis of this matter.

       4.      At all times material hereto, Defendant was an employer of Plaintiff within the

meaning of the statutes which form the basis of this matter.

       5.      At all times material hereto, Defendant employed more than fifteen (15) people.

       6.      At all times material hereto, Defendant acted by and through its authorized agents,

servants, workmen, and/or employees within the course and scope of their employment with

Defendant and in furtherance of Defendant’s business.

III.   JURISDICTION AND VENUE

       7.      The causes of action set forth in this Complaint arise under the ADA, the FMLA

and the LAD.

       8.      The District Court has subject matter jurisdiction over Count I (ADA) and Count II

(FMLA) pursuant to 28 U.S.C. § 1331.



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        9.        The District Court has supplemental jurisdiction over Count III (LAD) pursuant to

28 U.S.C. § 1367.

        10.       Venue is proper under 28 U.S.C. § 1391(b).

        11.       On or about December 17, 2019, Plaintiff filed a Charge of Discrimination with the

Equal Employment Opportunity Commission (EEOC), complaining of the various acts of

discrimination and retaliation set forth herein. Attached hereto, incorporated herein, and marked

as Exhibit “A” is a true and correct copy of the December 17, 2019 Charge of Discrimination filed

with the EEOC (with minor redactions for purposes of electronic filing of confidential/identifying

information).

        12.       On or about July 28, 2020 the EEEOC issued Plaintiff a Notice of Dismissal and

Right to Sue, informing him that he had the right to bring suit in either Federal or State Court

within ninety (90) days of his receipt of the Right to Sue Notice. Attached hereto, incorporated

herein, and marked as Exhibit “B” is a true and correct copy of the July 28, 2020 Notice of Right

to Sue from the EEOC.

        13.       Plaintiff has complied with all administrative pre-requisites for the commencement

of this action.

IV.     FACTUAL ALLEGALTIONS

        14.       Plaintiff began working for Defendant on or about October 1, 2018.

        15.       Plaintiff held the position of Sales and Underwriting Manager and reported to

Thomas L. Glenn III (“Glenn”), President and Owner.

        16.       Plaintiff consistently demonstrated positive performance and dedication to

Defendant. At all relevant times, Plaintiff performed his job duties and responsibilities in a highly

competent manner and received positive feedback on his performance.



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       17.     On January 17, 2019, Plaintiff was diagnosed with bladder cancer.

       18.     At all relevant times, Plaintiff was a qualified individual with a disability within the

meaning of the ADA and LAD.

       19.     At all relevant times, Plaintiff’s bladder cancer qualified as a “serious health

condition” within the meaning of the FMLA.

       20.     Plaintiff was able to perform the essential functions of his job with or without

reasonable accommodations. Examples of the reasonable accommodations that allowed Plaintiff

to perform the essential functions of his job included working from home to recover from surgery

and periodically taking days off to attend medical appointments related to his cancer.

       21.     At all relevant times, Plaintiff’s bladder cancer substantially impacted his ability to

engage in major life activities over a prolonged period of time including, without limitation:

               a. the ability to properly urinate;

               b. the ability to properly hold urine;

               c. the ability to maintain a regular sex life;

               d. the ability to maintain a normal exercise routine;

               e. the ability to travel for prolonged period without access to a restroom;

       22.     Plaintiff’s bladder cancer also substantially impacted the normal growth of cells in

his bladder.

       23.     On February 7, 2019, Plaintiff underwent a cystoscopy to determine if he had any

tumors located in his bladder. The cystoscopy revealed that Plaintiff had five (5) tumors in his

bladder, which were removed that day.

       24.     In a follow up appointment with his doctor on February 17, 2019, Plaintiff was

informed that his cancer was “aggressive” and “high-grade.”



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        25.       Plaintiff’s cancer diagnosis was classified as “aggressive” and “high-grade” due to

its propensity to re-occur.

        26.       Plaintiff’s high-grade bladder cancer will require him to be routinely monitored for

the rest of his life through testing, surgical procedures, CAT scans, and MRIs.

        27.       Following his February 17, 2019 appointment, Plaintiff called Glenn to inform him

of his diagnosis and medical condition.

        28.       In a meeting with Glenn two days later on February 19, 2019, Plaintiff was berated

for having called Glenn to inform him of the diagnosis. Glenn stated that Plaintiff had interrupted

him and asked Plaintiff, in an indignant and frustrated tone of voice, what he was “supposed to

do” with the information Plaintiff had provided to him. During the same meeting, Glenn accused

Plaintiff of treating him like “a medical concierge.”

        29.       During the same meeting, Glenn also told Plaintiff to call Gilda’s Club (a cancer

support group located in New Jersey) and that he didn’t want to be bothered trying to help Plaintiff.

Plaintiff understood Glenn’s comment to be sarcastic, insincere, and discriminatory on account of

his disability.

        30.       On March 21, 2019, Plaintiff underwent surgery to remove tissue surrounding the

areas in his bladder from which the tumors had previously been removed. This procedure involved

a re-building of the bladder.

        31.       Later that day, in a conversation with Glenn, Plaintiff requested the accommodation

of working from home for the next several days, as he recovered from surgery. Glenn reluctantly

approved Plaintiff’s request, but stated that he did not want to be taken advantage of.

        32.       On March 27, 2019, Plaintiff returned to work at the office.

        33.       Following the disclosure of his disability and return to the office, Plaintiff was



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treated differently, and worse, than nondisabled employees and/or employees who had not sought

reasonable accommodations or medical leave for a disability. By way of example:

               a. Glenn instructed Plaintiff not to conduct certain training sessions that were part

                  of his job duties, and assigned those training sessions to Kandy Kruse,

                  Information Technology Manager. Kruse does not have a disability.

               b. Glenn excluded Plaintiff from lunches and strategic planning discussions,

                  which Plaintiff had been invited to before the disclosure of his diagnosis.

               c. On one particular occasion, Glenn refused to acknowledge Plaintiff’s presence

                  in a meeting.

               d. On various occasions, Glenn repeatedly ignored Plaintiff’s requests for

                  assistance.

       34.     Between April 17, 2019 and May 15, 2019, Plaintiff underwent a series of six (6)

chemotherapy treatments.

       35.     Defendant was aware that Plaintiff was being treated for his disability during this

time period.

       36.     In or about June 2019, in a meeting with Glenn, Plaintiff was told that he was no

longer a member of the Standing Automation (“Epic”) Committee. Defendant’s Epic Committee

was geared towards optimizing the efficiency of Defendant’s business practices and protocols.

       37.     Glenn’s stated reason for this decision was that Plaintiff did not have the knowledge

to meaningfully contribute to the Committee. This was false. Plaintiff had more than adequate

knowledge to meaningfully contribute to Defendant’s Epic Committee. By way of example, and

without limitation, Plaintiff had developed training protocols for use by Defendant’s sales staff

and underwriters and had also worked with third-party consultants to assess Defendant’s



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workflows and efficiencies.

        38.     On June 24, 2019, Plaintiff underwent a cystoscopy to determine if cancerous

tumors had resurfaced.

        39.     On July 2, 2019, as a result of the June 24, 2019 cystoscopy, Plaintiff underwent a

second surgery to remove tissue surrounding the areas from which the tumors had been previously

removed, necessitating a second bladder reconstruction at this time.

        40.     In July 2019, Michael Thomas (“Thomas”), Executive Vice President, and a direct

report to Glenn, told Plaintiff that Glenn had been interviewing a potential candidate, John Appel,

to replace Plaintiff.

        41.     Thomas told Plaintiff that Appel was, on multiple occasions, brought into the office

and introduced to Plaintiff’s direct reports. Thomas told Plaintiff that Glenn planned to terminate

Plaintiff’s employment if he ended up hiring Appel.

        42.     On August 15, 2019, in an email from Henry Wimberg, Vice President and

Treasurer, to all employees, Wimberg stated that “[t]here was a discussion at a recent management

meeting about employees working from home so [Defendant was] sending this email to review

[Defendant’s] company policy.”        Wimberg stated the following: Defendant “requires all

employees to work from one of [Defendant’s] office locations . . . . If you are not able to be in the

office due to illness, family matters or other reasons, you will be required to use PTO or an

authorized leave of absence for that time out of the office. Exceptions to this policy may be made

for certain unusual or unique circumstances but only with Executive Management Team approval

in advance of the dates for which you will be out of the office.”

        43.     In the month of September 2019, Defendant did not give Plaintiff a performance

review, or a salary increase. However, non-disabled employees and/or employees who had not



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sought reasonable accommodations for a disability had received performance reviews and salary

increases.

       44.     On September 23, 2019, in an email to Wimberg, Plaintiff stated that he was having

surgery on October 2, 2019, and did not know whether he would “need to request a work from

home accommodation” for October 3 and 4, 2019. Plaintiff explained that his need to work from

home on those days would depend on how the surgery went and that, per the requirements of

Wimberg’s August 15, 2019 email, Plaintiff was “advising [him] of this potential need in

advance.”

       45.     Plaintiff received no response to this email communication.

       46.     On October 2, 2019, Plaintiff underwent another cystoscopy to determine if

cancerous tumors had resurfaced.

       47.     On October 3, 2019, Plaintiff called and left a voice message for Glenn, informing

him that he would need to work from home that day and the next day, as he was recovering from

a surgery. Plaintiff provided Glenn and Wimberg with a surgeon’s note, stating that he needed to

work from home that day and the next day, and that he would be able to return to the office on

October 7, 2019.

       48.     Plaintiff also called Thomas, Connie Gillen (Receptionist), and Neal Bellinger,

Commercial Underwriter, to inform them that he would be working from home that day and the

next day.

       49.     That same day (October 3, 2019) Wimberg asked Plaintiff if he had received

approval from Glenn to work from home.

       50.     In doing so, Wimberg specifically instructed Plaintiff not to put “work from home”

on the office calendar.



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       51.     In response, Plaintiff forwarded Wimberg the email that Plaintiff had sent on

September 23, 2019, and reiterated that he had not known in advance whether he would need to

work from home following his surgery. Plaintiff specifically explained that the surgeons had

decided the previous day, on October 2, 2019, that they needed to put him under general anesthesia

due to the particulars of his case and his prior history and complications. Plaintiff further explained

that he had complied to the best of his ability to meet the requirements outlined in Wimberg’s

8/15/19 e-mail to let management know in advance of any need to work from home

       52.     Wimberg responded to Plaintiff and stated that Glenn had approved Plaintiff

working from home that day (October 3, 2019) and the next day. Wimberg specifically stated that,

“[i]n the future, this will need to be approved prior to the dates [Plaintiff was] out of the office.”

       53.     Kruse and Thomas, both nondisabled employees, regularly worked from home.

       54.     On October 7, 2019, Plaintiff returned to work at the office.

       55.     On October 15, 2019, in an email to Wimberg and Glenn, Plaintiff requested time

off on November 4, 2019 and November 14, 2019 for reasons connected to his disability.

       56.     On October 17, 2019, in a meeting with Glenn, Plaintiff requested to be reinstated

on the Standing Automation (“Epic”) Committee. Glenn refused to reinstate Plaintiff.

       57.     On October 29, 2019, in a meeting with Glenn, Plaintiff reiterated that he would be

undergoing a medical procedure on November 4, 2019, and that he may need to work from home

on November 5, 2019.

       58.     Glenn approved Plaintiff’s work from home request for November 5, 2019.

       59.     Subsequently, Plaintiff informed Wimberg and Glenn that there was a possibility

that he would need the full day off on November 4, 2019, and explained that he had previously

discussed with Glenn the need to work from home on November 5, 2019.



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        60.     On November 4, 2019, Plaintiff underwent a biopsy of sixteen (16) sites of his

prostate.

        61.     On November 5, 2019, Plaintiff provided a surgeon’s note to Wimberg and Glenn

which stated that Plaintiff needed to work from home that day and that he would be returning to

work at the office on November 6, 2019.

        62.     On November 6, 2019, Plaintiff returned to work at the office.

        63.     On November 13, 2019, in a meeting with Wimberg, Plaintiff was told that he had

not communicated his work from home requests properly, and that Glenn had not approved

Plaintiff November 5, 2019 work from home day. This was false.

        64.     Wimberg further stated that, because Glenn did not respond in writing to Plaintiff’s

email regarding the need to work from home on November 5, Plaintiff was considered to have

violated company policy by working from home that day. Wimberg stated that working from

home would only be acceptable, if approved, for a period of two (2) or three (3) consecutive weeks

at a time and reiterated that Defendant did not want employees working from home.

        65.     In response, Plaintiff asked Wimberg if there would be further consideration for his

situation, as he had a life-threatening illness. Wimberg said no. When Plaintiff asked for the

opportunity to provide further information that may be helpful, Wimberg responded that he was

not interested in the details.

        66.     In a meeting with Thomas that same day, following the above meeting with

Wimberg, Plaintiff was told that Glenn still wanted to terminate him, and had been wanting to fire

him for months. Thomas told Plaintiff that he believed his termination was inevitable, that it would

only be a matter of time, and that there was nothing Plaintiff could do to improve his standing at

Defendant.



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       67.     The following day, on November 14, 2019, Plaintiff underwent a series of tests and

invasive procedures and had a follow up consultation with his surgeon.

       68.     On November 19, 2019, Plaintiff requested, and was approved for, one and a half

(1.5) days of paid time off for an appointment with his surgeon on December 12, 2019 and a

cystoscopy and a urolift on January 14, 2020.

       69.     Two days later, on November 21, 2019, in a meeting with Glenn and Wimberg,

Defendant informed Plaintiff that his employment was being be terminated, effective November

22, 2019. The stated reason for Plaintiff’s termination was that his job was being eliminated.

Plaintiff was told that his work would be spread out to other employees.

       70.     Defendant terminated Plaintiff’s employment because of his disability and/or

Plaintiff seeking reasonable accommodations for his disability.

       71.     As of October 1, 2019, Plaintiff’s requests to take days off to attend medical

appointments qualified for protection under the FMLA.

       72.     Before Plaintiff informed Defendant of his disability and sought reasonable

accommodations for the same, Plaintiff had no indication that his job was in jeopardy.

       73.     Plaintiff had no performance or disciplinary issues throughout his employment and

was given no option or opportunity to remain employed with Defendant.

       74.     Following his termination, Defendant assigned Plaintiff’s job duties and

responsibilities to non-disabled employees and/or employees who had not sought reasonable

accommodations for a disability. Plaintiff was more qualified and experienced to perform his job

duties than the employees to whom his job duties were assigned.

       75.     Defendant subjected Plaintiff to a hostile work environment because of his

disability and/or seeking reasonable accommodations for his disability.



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        76.     Plaintiff’s disability, his requests to periodically work from home as needed, and

his requests to periodically take days off to recover from surgery related to his disability, were

each motivating and/or determinative factors in Defendant’s discriminatory and retaliatory

treatment of him, including the hostile work environment to which he was subjected and the

termination of his employment.

        77.     The discriminatory and retaliatory conduct of Defendant, as alleged herein, was

severe and/or pervasive enough to make a reasonable person believe that the conditions of

employment had been altered and that a hostile work environment existed, and made Plaintiff

believe that the conditions of employment had been altered and that a hostile work environment

existed, because of his disability and his requests for accommodations.

        78.     As a direct and proximate result of the discriminatory conduct of Defendant,

Plaintiff has in the past incurred, and may in the future incur, a loss of earnings and/or earning

capacity, loss of benefits, pain and suffering, embarrassment, humiliation, loss of self-esteem,

mental anguish, and loss of life’s pleasures, the full extent of which is not known at this time.

                           COUNT I – Americans with Disabilities Act

        79.     Plaintiff incorporates herein by reference the paragraphs set forth above as if set

forth herein in their entirety.

        80.     By committing the foregoing acts of discrimination and retaliation, including

subjecting Plaintiff to a hostile work environment and terminating his employment, Defendant has

violated the ADA.

        81.     Defendant further violated the ADA by failing to provide Plaintiff with reasonable

accommodations for his disability, including working from home and taking days off to attend

medical appointments related to his disability.



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         82.    Defendant acted with malice and/or reckless indifference toward the federally

protected rights of Plaintiff and its conduct warrants the imposition of punitive damages.

         83.    As a direct and proximate result of Defendant’s violation of the ADA, Plaintiff has

sustained the injuries, damages, and losses set forth herein and has incurred attorneys’ fees and

costs.

         84.    Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendant’s discriminatory, retaliatory, and unlawful acts unless

and until the Court grants the relief requested herein.

         85.    No previous application has been made for the relief requested herein.

                                        COUNT II – FMLA

         86.    Plaintiff incorporates herein by reference the above paragraphs as if set forth herein

in their entirety.

         87.    At all relevant times, Defendant employed more than fifty (50) people within a

seventy-five (75) mile radius of Plaintiff’s workplaces.

         88.    Plaintiff had worked for Defendant for at least 1,250 hours in the twelve months

period preceding October 1, 2019.

         89.    At all relevant times, Plaintiff suffered from a “serious health condition” within the

meaning of the FMLA.

         90.    At the time of Plaintiff’s termination, Plaintiff was eligible for leave under the

FMLA.

         91.    At all relevant times, Defendant was subject to the requirements of the FMLA.




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        92.     By committing the foregoing acts of discrimination and retaliation against Plaintiff,

including terminating his employment, Defendant violated the interference anti-retaliation

provisions of FMLA.

        93.     Plaintiff’s exercise of his FMLA rights was considered as a negative factor, and

was a motivating and determinative factor in Defendant’s conduct towards Plaintiff, including

terminating his employment.

        94.     By its actions set forth herein, Defendant interfered with Plaintiff’s right to FMLA-

protected medical leave.

        95.     Said violations were not in good faith, and Defendant did not have reasonable

grounds to believe that the foregoing acts were not in violation of the FMLA. Defendant’s

violations of the FMLA warrant the imposition of liquidated damages.

        96.     Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendant’s discriminatory, retaliatory, and unlawful acts unless

and until the Court grants the relief requested herein.

        97.     No previous application has been made for the relief requested herein.

                                        COUNT III – LAD

        98.     Plaintiff incorporates herein by reference the paragraphs set forth above as if set

forth herein in their entirety.

        99.     By committing the foregoing acts of discrimination and retaliation, including

subjecting Plaintiff to a hostile work environment and terminating his employment, Defendant has

violated the LAD.




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         100.   Defendant further violated the LAD by failing to provide Plaintiff with reasonable

accommodations for his disability, including working from home and taking days off to attend

medical appointments related to his disability.

         101.   As a direct and proximate result of Defendant’s violation of the LAD, Plaintiff has

sustained the injuries, damages and losses set forth herein and has incurred attorneys’ fees and

costs.

         102.   Members of Defendant’s upper management were directly involved in and/or

willfully indifferent to the discrimination and retaliation set forth herein, including the hostile work

environment, to which Plaintiff was subjected, and its conduct was especially egregious, thus

warranting the imposition of punitive damages.

         103.   Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendant’s discriminatory and unlawful acts unless and until the

Court grants the relief requested herein.

         104.   No previous application has been made for the relief requested herein.

                                               RELIEF

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in favor of

Plaintiff, John Fitzgerald, and against Defendant:

         a)     declaring the acts and practices complained of herein to be in violation of ADA;

         b)     declaring the acts and practices complained of herein to be in violation of the

FMLA;

         c)     declaring the acts and practices complained of herein to be in violation of the LAD;

         d)     enjoining and restraining permanently the violations alleged herein;

         e)     awarding damages to Plaintiff for the past and future economic losses that he has



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suffered;

       f)      awarding compensatory damages to Plaintiff for past and future emotional upset,

mental anguish, humiliation, loss of life’s pleasures, and pain and suffering;

       g)      awarding punitive damages to Plaintiff;

       h)      awarding Plaintiff the costs of this action, together with reasonable attorney’s fees;

       i)      granting such other and further relief as this Court deems appropriate.



                                              CONSOLE MATTIACCI LAW, LLC



Dated: October 23, 2020               BY:     ____________________________
                                              Daniel S. Orlow, Esq.
                                              110 Marter Avenue, Suite 502
                                              Moorestown, NJ 08057
                                              (215) 545-7676
                                              Attorneys for Plaintiff, John Fitzgerald.




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                        Exhibit “A”
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                        Exhibit “B”
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 EEOC Form 161-B (11/16)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To:     John Fitzgerald                                                               From:    Philadelphia District Office
                                                                                               801 Market Street
        Northfield, NJ 08225                                                                   Suite 1000
                                                                                               Philadelphia, PA 19107




                  On behalf of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                         EEOC Representative                                           Telephone No.

                                                         Legal Unit,
 530-2020-01565                                          Legal Technician                                              (267) 589-9700
                                                                                   (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

        X         More than 180 days have passed since the filing of this charge.

                  Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
        X         The EEOC is terminating its processing of this charge.

                  The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
                  The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

                  The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                  you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                          On behalf of the Commission


                                                                                                                     July 28, 2020


 Enclosures(s)                                                         Jamie R. Williamson,                                   (Date Mailed)
                                                                         District Director
